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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                    Plaintiff,                     §
                                                   §    Criminal No. 3:20-CR-00216-X
 VS.                                               §
                                                   §
 NATHEN DANIEL SCOTT (1)                           §
                                                   §
                                                   §
                    Defendant.                     §

                             PRETRIAL SCHEDULING ORDER

       This case is set for jury trial on Monday, October 26, 2020, at 9:00 a.m.

       This case is set for pretrial conference on Monday, October 19, 2020, at 10:00

a.m.

       Defendant shall not file any motion for, or to compel, discovery, disclosure, or

production unless (i) defendant has first made written request of the government for the

desired discovery, disclosure, or production, which written request shall specify a time and

date prior to the motion’s deadline when discovery, disclosure, or production, as

applicable, of the items is desired office of the U.S. Attorney, and (ii) the government has

failed to comply with the request. The government shall respond, either orally or in writing,

to any request made in accordance with this paragraph within five (5) government

working days of receiving same. The government shall indicate either that the discovery

will be allowed or the disclosure or production will be made as requested or that the

request or portions thereof are objectionable, in which case the government shall briefly

state the legal basis for the government's objections. Lack of actual possession of an item by
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the government will not be accepted as a reason for non-production if the government can

obtain possession of the original or a copy of the item upon request.

        If the government does not comply with such request, defendant will be permitted

to file a motion to compel, or for discovery or disclosure. Any such motion must be

accompanied by copies of any pertinent requests that were previously served by the

movant and verification as to service of each such request and the results of the efforts to

obtain the desired discovery, disclosure, or production pursuant to each such request.

        Therefore, Defendant’s pretrial motions, if any, must be filed by September 4,
2020,

and the Government's responses thereto, by September 11, 2020.

        Requested voir dire questions, proposed jury instructions, witness lists (with

witnesses designated as "custodial", "expert", or "fact", as well as "probable" or "possible"),

exhibit lists (with copies of exhibits furnished to the Court), and motions in limine must be

filed no later than October 16, 2020.

        All counsel are directed to advise the Court seven (7) days before trial, if a plea

agreement has been reached. If such an agreement has been reached, except in

unusual circumstances where such cannot reasonably be done, counsel are to furnish an

executed copy to the Court at least four (4) days before trial.

        SO ORDERED.
        Signed this 31st day of August, 2020.




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